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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA
Vv. CRIMINAL NO. 99-10258-DPW (002)

ATTORNEY:
James DiPietro, Esq.

HARRY J. NICHOLSON

JUDGMENT IN A CRIMINAL CASE
THE DEFENDANT PLEADED GUILTY TO COUNTS: one

ACCORDINGLY, THE DEFENDANT IS ADJUDGED GUILTY OF SUCH COUNT (S) , WHICH
INVOLVED THE FOLLOWING OFFENSES:

 

 

TITLE & SECTION DESCRIPTION OF CHARGES COUNTS
41 U.S.C. §53 Anti-Kickback Act I
18 U.S.C. §2 Aiding and Abetting I

DATE OFFENSE CONCLUDED :

6/4/97

THE DEFENDANT IS SENTENCED AS PROVIDED IN PAGES 2 THROUGH 5 OF THIS

JUDGMENT .
ACT OF 1984.

DEFENDANT'S SOC.SEC. NO.
DEFENDANT'S DATE OF BIRTH:
DATE SENTENCE IMPOSED:

DEFENDANT'S RESIDENCE ADDRESS:

Weekends:
DEFENDANT'S MAILING ADDRESS:

U.S.M. NO.:

DATED: January if 2000

THE SENTENCE IS IMPOSED PURSUANT TO THE SENTENCING REFORM

XXX-XX-XXXX
7/3/63
1/18/00

33 Furnace Brook Parkway
Apt. #48
Quincy, MA 02169

774 Barkley Avenue
East Meadow, New York 11554

SAME

22798-038

Morte /Upodt, L

 

Hon. Douglas P. Woodlock
U.S. District Judge

 

 
 

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DEFENDANT: HARRY J. NICHOLSEN

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IMPRISONMENT

THE DEFENDANT IS HEREBY COMMITTED TO THE CUSTODY OF THE UNITED STATES
BUREAU OF PRISONS TO BE IMPRISONED FOR A TERM OF:

12 MONTHS AND 1 DAY

 

 

Xx THE COURT MAKES THE FOLLOWING RECOMMENDATION TO THE BUREAU OF PRISONS:

The defendant should serve the sentence in community confinement in the
Boston area.

THE DEFENDANT IS REMANDED TO THE CUSTODY OF THE UNITED STATES MARSHAL.

THE DEFENDANT SHALL SURRENDER TO THE UNITED STATES MARSHAL FOR THIS DISTRICT
AT AM/PM ON

AS NOTIFIED BY THE UNITED STATES MARSHAL.

—x__

THE DEFENDANT SHALL SURRENDER FOR SERVICE OF SENTENCE AT THE INSTITUTION
DESIGNATED BY THE BUREAU OF PRISONS,

BEFORE 2 PM ON__MARCH 1, 2000 .

AS NOTIFIED BY THE UNITED STATES MARSHAL.

AS NOTIFIED BY THE PROBATION OFFICE.

RETURN

I HAVE EXECUTED THIS JUDGMENT AS FOLLOWS:

 

 

 

 

DEFENDANT DELIVERED ON TO

AT WITH A CERTIFIED COPY OF THIS JUDGMENT.

 

UNITED STATES MARSHAL

BY:

 

DEPUTY MARSHAL

 

 
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DEFENDANT: HARRY J. NICHOLSEN PAGE 3 OF 5
CRIMINAL NO.: CR 99-10258-DPW (002)

FINES, SPECIAL ASSESSMENTS, RESTITUTION

IT IS ORDERED THAT THE DEFENDANT SHALL PAY A SPECIAL ASSESSMENT OF
$100.00 FOR COUNT ONE, WHICH SHALL BE DUE FORTHWITH;

A FINE OF $30,000 IS IMPOSED. THE FINE SHALL BE PAID_FORTHWITH.
SUPERVISED RELEASE

AFTER RELEASE FROM THE CUSTODY OF THE BUREAU OF PRISONS, THE
DEFENDANT IS HEREBY PLACED ON SUPERVISED RELEASE FOR A TERM OF
TWO (2) YEARS.

STANDARD CONDITIONS OF SUPERVISION

1. the defendant shall not leave the judicial district without permission of the
court or probation officer;

2. the defendant shall report to the probation officer as directed by the court
or probation officer and shall submit a truthful and complete written report
within the first five days of each month;

3. the defendant shall answer truthfully all inquiries by the probation officer
and follow the instructions of the probation officer.

4. the defendant shall support his or her dependents and meet other family
responsibilities;

5. the defendant shall work regularly at a lawful occupation unless excused by
the probation officer for schooling, training, or other acceptable reasons;

6. the defendant shall notify the probation officer within 72 hours of any
change in residence or employment;

7. the defendant shall refrain from excessive use of alcohol and shall not
purchase, possess, use, distribute, or administer any narcotic or other
controlled substance, or any paraphernalia related to such substances, except as
prescribed by a physician;

8. the defendant shall not frequent places where controlled substances are
illegally sold, used, distributed or administered;
9. the defendant shall not associate with any persons engaged in criminal

activity, and shall not associate with any person convicted of a felony unless
granted permission to do so by the probation officer;

10. the defendant shall permit a probation officer to visit him or her at any
time at home or elsewhere and shall permit confiscation of any contraband
observed in plain view by the probation officer;

11. the defendant shall notify the probation officer within 72 hours of being
arrested or questioned by a law enforcement officer;

12. the defendant shall not enter into any agreement to act as an informer or a
special agent of a law enforcement agency without permission of the court;

13. as directed by the probation officer, the defendant shall notify third
parties of risks that may be occasioned by the defendant's criminal record or
personal history or characteristics, and shall permit the probation officer to
make such notifications and to confirm the defendant's compliance with such
notification requirement.

 
 

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DEFENDANT: HARRY J. NICHOLSEN PAGE 4 OF 5
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SPECIAL CONDITIONS OF SUPERVISION

WHILE ON SUPERVISED RELEASE:

1. THE DEFENDANT SHALL NOT COMMIT ANOTHER FEDERAL, STATE, OR LOCAL
CRIME.

2. THE DEFENDANT ALSO SHALL COMPLY WITH THE STANDARD CONDITIONS THAT
HAVE BEEN ADOPTED BY THIS COURT (SET FORTH IN THIS JUDGMENT).

3. THE DEFENDANT SHALL NOT POSSESS A FIREARM OR OTHER DANGEROUS
WEAPON .

4. THE DEFENDANT IS PROHIBITED FROM INCURRING NEW CREDIT CHARGES OR
OPENING ANY ADDITIONAL LINES OF CREDIT WITHOUT THE APPROVAL OF THE
PROBATION OFFICER, UNLESS THE DEFENDANT HAS PAID THE FINE AND SPECIAL
ASSESSMENT.

5. THE DEFENDANT SHALL PROVIDE THE PROBATION OFFICER ACCESS TO ANY
REQUESTED FINANCIAL INFORMATION.

6. THE DRUG TESTING CONDITIONS ARE SUSPENDED.

 

 
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DEFENDANT: HARRY J. NICHOLSEN PAGE 5 OF 5
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STATEMENT OF REASONS
X THE COURT ADOPTS THE FACTUAL FINDINGS AND GUIDELINE APPLICATION
IN THE PRESENTENCE REPORT.

OR

THE COURT ADOPTS THE FACTUAL FINDINGS AND GUIDELINE APPLICATION
IN THE PRESENTENCE REPORT EXCEPT: (see attachment if necessary):

GUIDELINE RANGE DETERMINED BY THE COURT:

TOTAL OFFENSE LEVEL: 13

CRIMINAL HISTORY CATEGORY: I

IMPRISONMENT RANGE: 12 to 18 months
SUPERVISED RELEASE: 2 to 3 years
FINE RANGE: $3,000 to $30,000

Fine is waived or is below the guideline range, because of the
defendant's inability to pay.

RESTITUTION: n/a
X The sentence is within the guideline range, that range does not
exceed 24 months, and the court finds no reason to depart from the
sentence called for by application of the guidelines.

OR

The sentence is within the guideline range, that range exceeds 24
months, and the sentence is imposed for the following reason(s):

OR
The sentence departs from the guideline range

upon motion of the government, as a result of defendant's
substantial assistance.

for the following reason(s):

 

 
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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,
v. CRIMINAL NO. 99-10258-DPW
HARRY NICHOLSEN
NOTICE TO DEFENDANT OF APPEAL RIGHTS
WOODLOCK, D.J.

Judgment in the above entitled matter was imposed on JANUARY 18,
2000. The defendant is hereby notified of the right to appeal within 10 days of
Entry of Judgment. Fed.R.App.P.4(b).

The attention of the defendant and defense counsel is directed to the

provisions of First Circuit Local Rule 12(b), providing that an attorney who has
represented a defendant in a criminal case in the District Court will be responsible
for representing the defendant on appeal until the attorney is relieved of such duty

by the Court of Appeals. Detailed procedures for withdrawal in criminal cases are

found in First Circuit Local Rule 46.6.

BY THE COURT,

JANUARY 18, 2000 AMY, LA Grevlts

Deputy Clerk

x

 

 
